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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

HIGHLAND CAPITAL MANAGEMENT, L.P.,              §
                                                §
                                 Plaintiff,     §   Case No. 3:21-cv-00881-X
                                                §
vs.                                             §
                                                §
HIGHLAND CAPITAL MANAGEMENT FUND                §   (Consolidated with 3:21-cv-00880-
ADVISORS, L.P., et al.,                         §   X, 3:21-cv-01010-X, 3:21-cv-01378-
                                                §   X, 3:21-cv-01379-X)
                                 Defendants.    §
                                                §

        HIGHLAND CAPITAL MANAGEMENT, L.P.’S OMNIBUS OBJECTION TO
           MOTIONS TO STRIKE REPLY AND SUPPORTING EXHIBITS OR,
              ALTERNATIVELY, FOR LEAVE TO FILE A SURREPLY
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        HCMLP, 1 by and through its undersigned counsel, files this response (the “Response”) in

opposition to the motions to strike filed by (i) HMIT (the “HMIT Motion”) [D.I. 194], (ii) the

DAF Entities [D.I. 196] (the “DAF Motion”), (iii) Dondero, HCMFA, NPA, HCMS, HCRE,

Dugaboy, Strand, and Get Good [D.I. 197] (the “Dondero Motion”), and (iv) Nancy Dondero

[D.I. 198] (the “Nancy Motion,” and together with the HMIT Motion, the DAF Motion, and the

Dondero Motion, the “Motions”).                HCMLP fully incorporates herein by reference its

contemporaneously filed Brief in Support of Highland Capital Management, L.P.’s Omnibus

Objection to Motions to Strike Reply and Supporting Exhibits or, Alternatively, for Leave to File

a Surreply (the “Brief”) in opposition to the Motions and respectfully states as follows:

                                         RELIEF REQUESTED

        1.       By this Response, Highland respectfully requests that the Court enter an order

denying the Motions or, alternatively, granting the limited and specific relief set forth more fully

in paragraphs 22-24 of the Brief.

        2.       Pursuant to Rules 7.1(d) and (h) of the Local Civil Rules of the United States

District Court for the Northern District of Texas, Dallas Division (the “Local Rules”), the Brief

is being filed contemporaneously with this Response and is incorporated herein by reference.

                                                  PRAYER

        WHEREFORE, HCMLP respectfully requests that the Court enter an order (i) denying

the Motions, or (ii) alternatively, granting the limited and specific relief set forth in paragraphs

22-24 of the Brief, and (iii) granting HCMLP such other and further relief as the Court deems

just and proper.

1
 Capitalized terms used but not defined herein have the meanings given to them below or in Highland Capital
Management, L.P.’s Reply to Objections to Motion to Deem the Dondero Entities Vexatious Litigants and for
Related Relief [D.I. 189] (the “Reply”). HCMLP is concurrently filing its Appendix in Support of Omnibus
Objection to Motions to Strike Reply and Supporting Exhibits or, Alternatively, for Leave to File a Surreply (the
“Appendix”). Citations to the Appendix are notated as “Ex. #, Appx. #.”


                                                       1
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Dated: March 4, 2024            PACHULSKI STANG ZIEHL & JONES LLP

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